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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   FIREARMS POLICY COALITION, INC. ET
   AL.,

        Plaintiffs,

   v.                                                No. 4:21-cv-1245-P

   STEVEN C. MCCRAW, IN HIS OFFICIAL
   CAPACITY AS DIRECTOR OF THE TEXAS
   DEPARTMENT OF PUBLIC SAFETY, ET AL.,

        Defendants.
                                  ORDER
        Before the Court is Plaintiffs’ Unopposed Motion to Set a Deadline
   for a Fee Petition (ECF No. 80). Having considered the Motion,
   applicable law, and docket entries, the Court concludes that the Motion
   should be, and is hereby, GRANTED.

        SO ORDERED on this 11th day of January 2023.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE
